    Case 3:19-cv-00418-REP-RCY Document 11 Filed 11/06/19 Page 1 of 1 PageID# 69


                                 United States District Court
                                       Eastern District of Virginia

Fernando Galindo                                                                                        Mark S. Davis
 Clerk of court                                                                                           Chief Judge


                                    CONSENT TO COLLECTION OF FEES


                                                   October 9, 2019

                                                                                                   ROV -6 2019

    Uhuru Baraka Rowe,                                                                              RlBMEaBHD/A'A
           Plaintiff,

                                                        Civil Action No. 3:19cv418
    Gregory L. Holloway, et al.
            Defendants.




            I, Uhuru Baraka Rowe .inmate no. 1131545                   understand that I must pay a filing fee in
    the amount of$350.00 in the above styled action. Accordingly, I acknowledge that I must submit an
    initial partial filing fee equal to twenty percent(20%)ofthe greater of:
                     (a)     the average monthly deposits to my trust account for the six-
                      month period immediately preceding the submission of this action; or
                     (b)     the average monthly balance in my trust account for the six-
                      month period immediately preceding the submission of this action.
             I further acknowledge that I must make monthly payments towards the balance ofthe $350.00
    filing fee. These monthly payments shall be equal to twenty percent(20%)ofthe preceding month's
    deposits to my inmate account. Accordingly, I agree to maintain a balance oftwenty percent(20%)of
    the previous month's income in my account for payment to the court. I recognize that ifI fail to maintain
    such a balance my action is subject to immediate dismissal.
             I hereby consent for the appropriate prison official to withdraw from my account and forward to
    the court a money order equal to twenty percent(20%)my preceding month's income to the United States
    District Court. I agree that if I am transferred prior to payment ofthe full fee, the balance owing will be
    reported to the new institution with directions to continue the withdrawal offunds until the entire fee is
    paid. Payment will continue, if necessary, after resolution of this action until the full filing is paid.
           I also authorize collection on a continuing basis of any additional fees, costs, and sanctions
    imposed by the court pursuant to 28 U.S.C. § 1915(f)(2)(B).




    Date:    \ 0-3 i-1^                                                    UVugrw
                                                                             SIGNATURE OF INMATE




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